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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                             *

         Plaintiff,                         *

v.                                          *      Case No.: 1:21-CV-00532-SAG

M&T BANK,                                   *

         Defendant.                         *

*        *        *         *     *    *    *    *   *           *      *      *      *
                                      [PROPOSED] ORDER

         This Court having considered the Emergency Motion to Reassign Case filed by Plaintiff

Bryce Carrasco, the Opposition to the Motion filed by Defendant M&T Bank, and all other

considerations made, it is this         day of                   , 2021, hereby ORDERED that

Plaintiff Bryce Carrasco’s Emergency Motion to Reassign Case (ECF No. 103) is DENIED.



                                            _____________________________________
                                            The Honorable Stephanie A. Gallagher
                                            Judge, United States District Court




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